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                        UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION

MICHELLE STRICKLAND,

                    Plaintiff,

v.                                                        Case No: 6:21-cv-12-ACC-GJK

GRANADA PLAZA GROUP LLC and
KCR ENTERPRISES LLC,

                    Defendants.


                                 ORDER OF DISMISSAL

      The Court has been advised by counsel for Plaintiff that the claims against

Defendant Granada Plaza Group LLC have been settled. Accordingly, pursuant to

Local Rule 3.09(b) M.D.Fla., it is

      ORDERED AND ADJUDGED that Plaintiff’s claims against Defendant

Granada Plaza Group LLC (only) are hereby DISMISSED without prejudice and

subject to the right of the parties, within sixty (60) days of the date of this order, to

submit a stipulated form of final order or judgment should they so choose. After

that 60-day period, however, dismissal of Plaintiff’s claims against Defendant

Granada Plaza Group LLC shall be with prejudice. The Clerk is further directed to

terminate Defendant Granada Plaza Group LLC as a party.
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     DONE and ORDERED at Orlando, Florida on February 4, 2021.




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